Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 1 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 2 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 3 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 4 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 5 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 6 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 7 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 8 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 9 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 10 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 11 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 12 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 13 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 14 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 15 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 16 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 17 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 18 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 19 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 20 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 21 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 22 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 23 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 24 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 25 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 26 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 27 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 28 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 29 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 30 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 31 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 32 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 33 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 34 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 35 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 36 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 37 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 38 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 39 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 40 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 41 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 42 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 43 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 44 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 45 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 46 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 47 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 48 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 49 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 50 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 51 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 52 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 53 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 54 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 55 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 56 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 57 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 58 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 59 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 60 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 61 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 62 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 63 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 64 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 65 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 66 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 67 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 68 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 69 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 70 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 71 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 72 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 73 of 74
Case 9:22-bk-10760-RC   Doc 1 Filed 09/26/22 Entered 09/26/22 11:30:57   Desc
                        Main Document    Page 74 of 74
